                 IN THE UNITED STATES DISTRICT COURT
                FOR THE WESTERN DISTRICT OF MISSOURI
                          ST. JOSEPH DIVISION

KAREN BACKUES KEIL,                   )
                                      )
                     Plaintiff,       )
                                      )
        v.                            )       Case No.:   5:18-CV-06074-BP
                                      )
MHM SERVICES, INC., et al.,           )
                                      )
                     Defendants.      )

                   Defendant’s Suggestions in Opposition to
                   Motion for Attorneys’ Fees and Expenses

        Defendant Edward Bearden acknowledges that 42 U.S.C. § 1988

authorizes the Court to award reasonable attorney fees and expenses to a

Plaintiff who prevails in a §1983 lawsuit. And, Bearden appreciates

Plaintiffs’ efforts to submit only those fees and expenses reasonable and

necessary in the claims against Bearden in these four cases. Two factors

complicated those efforts: 1) other defendants in the Keil case; and 2) the

Dean case, which was consolidated for discovery but not trial. Bearden’s

opposition to the motion for attorneys’ fees and expenses largely relate to

these two factors.

   I.        Entries not reasonable or necessary to the claims against
             Defendant Edward Bearden

        In thoroughly reviewing the time records submitted by plaintiffs’

attorneys, Bearden noted a handful of entries related to motions filed by or

                                          1

         Case 5:18-cv-06074-BP Document 210 Filed 05/26/22 Page 1 of 10
about MHM Services or John Dunn in the Keil case. He also noted a handful

of entries that related to matters specific to the Dean case. Finally, Bearden

noted a few entries in the time records that were unreasonable or

unnecessary (or that he could not tell from the entry to what they related).

Specifically, Bearden opposes 1.3 hours submitted in nine entries by John

Ammann; 3.3 hours submitted by attorney Brendan Roediger; 8.6 hours

submitted by Jenifer Snow; and 7.2 hours submitted by Ryan Gavin. Bearden

also opposes 0.3 hours submitted by Kelly Ruff, a paralegal who assisted Ms.

Snow.

         a. John Ammann

      For ease of reference, Bearden has reproduced the nine entries that he

opposed from Mr. Ammann’s time records.

   Date                       Subject                          Time
7/17/2018      Keil: Email Taulbee about Carsey       .1
               asking to interview folks
12/11/2018     Keil: Read case materials for Funk     .2
               v. Precythe
10/30/2019     Keil: Prepare new status report,       .1
               related to settlement with MHM
12/6/2019      Keil: Draft motion to dismiss and      .2
               circulate
12/6/2019      Keil: Finish consent motion to         .1
               dismiss MHM and Dunn
12/8/2019      Keil: File motion to dismiss MHM       .1
               and Dunn
3/25/2021      Cons: Email from Taulbee about         .1
               adding affirmative defense
3/25/2021      Cons: Discussed above with team.       .3
               Answer is no.
                                       2

        Case 5:18-cv-06074-BP Document 210 Filed 05/26/22 Page 2 of 10
4/15/2021      Cons: Read email from AG                .1
               Buchheit on scheduling Precythe

      The first six do not relate to Bearden. The last three relate to the Dean

case. Counsel for Bearden does not have any recollection of receiving an email

about Carsey interviewing folks and has been unable to locate that email.

Still, an email about interviews with a Department of Corrections

investigator—and presumably the decision not to participate in those

interviews—is related to the claims against Vevia Sturm, who was the head

of the unit conducting the interviews. Counsel for Defendant Bearden

actually moved to withdraw from representing Sturm on July 17, 2018. The

second entry discusses materials related to the case Funk v. Precythe. That

case did not involve Bearden, and it did not involve claims of sexual assault.

The only connection between that case and this one is that inmates at

Chillicothe Correctional Center filed it. The October 30, 2019 entry through

the December 8, 2019 entry relate to the motion to dismiss MHM and Dunn.

The March 25, 2021 entries relate to Bearden’s request to file an amended

answer to add an affirmative defense in the Dean case. The final entry

relates to the deposition of Director Anne Precythe. Precythe is a named

defendant in the Dean case. Plaintiffs’ have not sought any other attorneys’

fees, expenses, or costs related to that deposition.

      Bearden opposes 1.3 hours submitted by Mr. Amman, totaling $585.00.


                                        3

       Case 5:18-cv-06074-BP Document 210 Filed 05/26/22 Page 3 of 10
             b. Brendan Roediger

        Bearden opposes 3.3 hours submitted by Mr. Roediger. The entries for

the mediation with Judge Atwell on November 26, 2019 (Doc. 207-4, p. 7)

reflect that Mr. Roediger reduced the time 50% due to joint mediation with

another client. It appears that 50% was attributed to representation of Betz

and 50% was attributed to representation of Zieser. The total billed was 10

hours between the two cases. But the parties mediated three cases with

Judge Atwell on November 26, 2019. The third case was the Dean case. Thus,

it appears that these entries should have been reduced by two thirds.

Ultimately, it appears that Mr. Roediger billed 10 hours for a total of $4,000

for the mediation and the travel related to it. If Bearden’s assumption of

these entries is correct, then $1,320 of that would be attributable to the Dean

case.

             c. Jenifer Snow

        Bearden opposes several entries by Ms. Snow. Some entries relate to

other claims or other defendants. Some entries are unclear (to Bearden). And

some entries appear to be unreasonable or duplicative. 1 For ease of reference,

he has created a table with the opposed entries.

 Date (Ex. p. #)          Case           Subject                                          Time
 2/27/2019 (68)           Zieser         Correspondence Re: DOJ Interview                 .2

        1Bearden is not entirely certain how the hours attributable to all cases were divided among
the cases. In most case, he assumed that the time for the entry was divided equally among the cases.
He has only opposed a handful of those where the time for the entry seemed unreasonable.
                                                 4

            Case 5:18-cv-06074-BP Document 210 Filed 05/26/22 Page 4 of 10
7/31/2019 (42)       Keil        Sturm’s motion to dismiss                     .5
8/1/2019 (39)        Keil        30(b)(6) notices, 30(b)(2) duces tecum, and   1.5
                                 amendments to petition
10/14/2019 (38)      Keil        Discuss amending pleadings to add             .3
                                 Sturm back in as defendant
10/24/2019 (38)      Keil        Continued correspondence re: SAGR             .2
11/7/2019 (66)       Zieser      Language for subpoena on Corizon              .1
4/27/2020 (7)        Betz        Correspondence w/ Atwell Re: Mediation        .1
                                 invoice and payment
4/27/2020 (36)       Keil        Correspondence w/ Atwell Re: Mediation        .1
                                 invoice and payment
4/27/2020 (63)       Zieser      Correspondence w/ Atwell Re: Mediation        .1
                                 invoice and payment
6/16/2021 (16)       Betz        Canceling Briesacher Deposition               .1
6/16/2021 (27)       George      Canceling Briesacher Deposition               .1
6/16/2021 (55)       Keil        Canceling Briesacher Deposition               .1
6/16/2021 (74)       Zieser      Canceling Briesacher Deposition               .1
7/8/2021 (16)        Betz        Call from KC Star and plan for media          .1
                                 involvement
7/8/2021 (27)        George      Call from KC Star and plan for media          .1
                                 involvement
7/8/2021 (55)        Keil        Call from KC Star and plan for media          .1
                                 involvement
7/8/2021 (74)        Zieser      Call from KC Star and plan for media          .1
                                 involvement
8/6/2021 (17)        Betz        Telephone logs from DOJ/DOC                   .2
8/6/2021 (28)        George      Telephone logs from DOJ/DOC                   .2
8/6/2021 (56)        Keil        Telephone logs from DOJ/DOC                   .2
1/21/2022 (19, 30,   All four    Attend pretrial; travel to/from               4.0 x 4
58, 77)
4/12/2022 (31)       George      Review EOA by Rothermich                      .1
4/12/2022 (59)       Keil        Review EOA by Rothermich                      .1
4/12/2022 (78)       Zieser      Review EOA by Rothermich                      .1

      Bearden opposes the February 2019 entry because it relates to a

potential interview by the Department of Justice, which is not reasonable or

necessary to the claims against Bearden. The July 31, 2019 entry for 0.5

hours is for review of Bearden’s answer and Sturm’s motion to dismiss. That

time is at least partially attributable to claims against another defendant

that Keil dismissed from the case. The entries on August 1, 2019, October 14,

                                        5

       Case 5:18-cv-06074-BP Document 210 Filed 05/26/22 Page 5 of 10
2019, and November 17, 2019, appear to relate to subpoenas that were not

ultimately sent and pleadings unrelated to Bearden. Defendant Bearden does

not know what SAGR refers to in the entry from October 24, 2019. The entry

references continued correspondence, but he did not see any other

correspondence with that acronym. Without more information, Bearden

cannot tell whether this entry was reasonable and necessary to the claims

against him.

      Bearden’s remaining opposition is to entries that appear to be

unreasonable or duplicative. The entries are the same for multiple cases. The

April 27, 2020 entries relate to correspondence about payment of the

mediation expenses. First, the parties did not mediate the Keil case with

Judge Atwell. Second, this is not a reasonable or necessary expense for the

claims against Bearden. Third, the amount of time for this entry—eighteen

minutes—seems unreasonable.

      Bearden opposes the June 16, 2021 entries for the cancellation of

Briesacher’s deposition for several reasons. The Briesacher deposition would

have related to the claims against the Director in the Dean case, and

plaintiffs decided to cancel it. It was not reasonable or necessary to the claims

against Bearden. Further, 0.4 hours is unreasonable for one communication

related to all of the cases (including the Dean case).

      Bearden also opposes the July 8, 2021 entries related to a call from a

                                        6

       Case 5:18-cv-06074-BP Document 210 Filed 05/26/22 Page 6 of 10
Kansas City Star Reporter and plaintiffs’ discussions related to media

involvement. Bearden cannot tell whether plaintiffs’ counsel spent 24

minutes on this issue, but it was not reasonable or necessary to the claims

against him.

      The August 6, 2021 entries refer to telephone logs from DOJ/DOC.

Bearden is unclear what those are and whether the 0.2 hours should be for

each case or total. Bearden notes that the records for Zieser’s case do not

contain a like entry. Bearden is also unaware of any phone logs from DOJ. If

the phone logs are those related to the calls to the phone number identified

by Ms. Doe, Bearden agrees such a review was reasonable and necessary to

the claims against him. He just cannot tell from the entry if that is the case.

      Bearden also opposes the January 21, 2022 entries related to the

pretrial conference. Bearden agrees that Ms. Snow’s attendance at and travel

to and from the pretrial conference was reasonable and necessary. He cannot

tell from the entries whether 16.0 hours was reasonable and necessary

however. Bearden notes that Mr. Ammann billed 9.5 hours for the pretrial

conference.

      Finally, Bearden opposes the April 12, 2022 entries for review of the

entry of appearance filed by Abbie Rothermich. Bearden agrees that Ms.

Snow’s review of the entry of appearance was reasonable and necessary.

Thus, he did not include the entry in the Betz case from Ms. Snow’s time

                                       7

       Case 5:18-cv-06074-BP Document 210 Filed 05/26/22 Page 7 of 10
records. He only opposes the subsequent 0.3 hours as unreasonable for review

of an entry of appearance.

       Without more information related to some of these entries, Bearden

cannot identify the exact total that he opposes related to Ms. Snow’s entries.

He believes that it is somewhere between 8.0 to 9.0 hours.

            d. Ryan Gavin

       Again, for ease of reference, Bearden is producing the opposed entries

in a table. 2

 Date (Ex. p. #)                       Case and Subject                                   Time
 12/26/2018 (13)         Betz – DOJ interviews                                          .1
 7/17/2018 (14)          Betz – DOC interviews                                          .5
 12/6/2019 (47)          Keil – Motion to Dismiss                                       .1
 9/3/2019 (48)           Keil – Reply to Motion for Leave to Amend                      .1
 8/16/2019 (48)          Keil – Defendant’s Suggestion in Opposition to                 .5
                         Plaintiff’s Motion for Leave to Amend
 8/2/2019 (48)           Keil – Motion for Leave to Amend                               .3
 8/1/2019 (49)           Keil – Motion for Leave to Amend                               4.3
 7/31/2019 (49)          Keil – Motion to Amend Complaint                               .5
 8/8/2018 (53)           Keil –Sturm’s Motion to Dismiss                                .4
 7/31/2018 (53)          Keil – Sturm’s Motion to Dismiss                               .2
 6/27/2018 (53)          Keil – Defendant’s Reply in Support of Motion                  .2
                         to Dismiss


       The first two entries relate to potential interviews with agencies

investigating Betz’s claims. Interviews with the Department of Justice




       2 The entries are not chronological because Mr. Gavin’s records are by case. They are
included in the table in the order that they appeared in the records. Bearden is summarizing the
subject matter of the entry.
                                                 8

           Case 5:18-cv-06074-BP Document 210 Filed 05/26/22 Page 8 of 10
related to the allegations are not reasonable or necessary to the claims

against Bearden, and neither are potential interviews with a DOC

investigator. The remaining entries by Mr. Gavin that Bearden opposes

relate to motions filed by other parties that were not reasonable or necessary

to the claims against Bearden. Bearden did not file a motion to dismiss and

the proposed amendment did not relate to the claims against Bearden. The

proposed amendment related to the claims against Defendant MHM Services.

Thus, the above entries were not reasonable or necessary to the claims

against Bearden. In all, Bearden opposes 7.2 hours submitted by Mr. Gavin

for a total of $3,060.

         Bearden also opposes .3 hours submitted for work done by Kelly Ruff

(reflected at 207-5, p. 43) on 8/1/2019, which is described as preparing

exhibits to motion to amend complaint.

   II.     Conclusion

         For these reasons, Defendant respectfully request the Court deny

Plaintiffs’ motion for the above entries and for such further relief as the

Court deems just and proper.

                                Respectfully submitted,

                                ERIC S. SCHMITT
                                Attorney General

                                /s/ Nicolas Taulbee
                                Nicolas Taulbee

                                        9

          Case 5:18-cv-06074-BP Document 210 Filed 05/26/22 Page 9 of 10
                               Missouri Bar Number 61065
                               Assistant Attorney General
                               615 East 13th Street, Suite 401
                               Kansas City, Missouri 64106
                               Telephone: (816) 889-5000
                               Facsimile: (816) 889-5006
                               Email:      Nicolas.Taulbee@ago.mo.gov
                               Attorneys for Defendant Bearden



                            Certificate of Service

      I hereby certify that on May 26, 2022, I filed the foregoing

electronically with the Clerk of Court to be served by operation of the Court’s

electronic filing system upon all counsel of record.


                                     /s/ Nicolas Taulbee
                                     Assistant Attorney General




                                        1

       Case 5:18-cv-06074-BP Document 210 Filed 05/26/22 Page 10 of 10
